  Case 20-11365       Doc 24     Filed 07/14/20 Entered 07/14/20 18:00:06             Desc Main
                                   Document     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

                                           )
In re                                      )                         Chapter 7 Case Nos.
                                           )
LEGACY GLOBAL SPORTS, L.P.,                )                                 20-11157
LGS MANAGEMENT, LLC,                       )                                 20-11351
LGS MANUFACTURING, LLC,                    )                                 20-11352
LEGACY GLOBAL LACROSSE, LLC,               )                                 20-11353
LGS LOGISTICS, LLC,                        )                                 20-11354
LGS TEAM SALES, LLC,                       )                                 20-11355
PREMIER SPORTS EVENTS, LLC,                )                                 20-11356
MASSACHUSETTS PREMIER SOCCER, LLC,         )                                 20-11357
MAINE PREMIER SOCCER, LLC,                 )                                 20-11358
MASS PREMIER SOCCER IN NEW HAMPSHIRE, LLC, )                                 20-11359
FLORIDA PREMIER SOCCER, LLC,               )                                 20-11360
NEW YORK PREMIER SOCCER, LLC,              )                                 20-11361
JERSEY PREMIER SOCCER, LLC,                )                                 20-11362
GPS IN VERMONT, LLC,                       )                                 20-11363
RHODE ISLAND PREMIER SOCCER, LLC,          )                                 20-11364
CAROLINA PREMIER SOCCER, LLC,              )                                 20-11365
GEORGIA PREMIER SOCCER, LLC,               )                                 20-11366
GLOBAL PREMIER SOCCER PUERTO RICO, LLC,    )                                 20-11367
GLOBAL PREMIER SOCCER CANADA, LLC,         )                                 20-11368
GLOBAL PREMIER SOCCER OREGON, LLC,         )                                 20-11369
GLOBAL PREMIER SOCCER CALIFORNIA, LLC,     )                                 20-11370
GLOBAL PREMIER SOCCER MISSOURI, LLC,       )                                 20-11371
GLOBAL PREMIER SOCCER CONNECTICUT, LLC, )                                    20-11372
GLOBAL PREMIER SOCCER DELAWARE, LLC,       )                                 20-11373
GLOBAL PREMIER SOCCER MICHIGAN, LLC,       )                                 20-11374
GLOBAL PREMIER SOCCER MINNESOTA, LLC,      )                                 20-11375
GLOBAL PREMIER SOCCER OHIO, LLC            )                                 20-11376
                                           )
                 Debtors.                  )
                                           )

            ORDER PURSUANT TO BANKRUPTCY RULE 1015(b) DIRECTING
              JOINT ADMINISTRATION OF RELATED CHAPTER 7 CASES

    This matter came before me on the Motion of the Chapter 7 Trustee of Legacy Global

Sports, L.P. (“LGS”) and its affiliated debtors (collectively, the “Debtors”) for entry of an order

pursuant to Bankruptcy Rule 1015(b) and MLBR 1015-1 directing joint administration of the
    Case 20-11365       Doc 24      Filed 07/14/20 Entered 07/14/20 18:00:06                 Desc Main
                                      Document     Page 2 of 3



Debtors’ chapter 7 cases for procedural purposes only. Having reviewed the Motion, and good

cause being shown, it is hereby ORDERED that:

        1.      The Motion is GRANTED as provided herein.

        2.      The above-captioned chapter 7 cases shall be jointly administered by the Court,

for procedural purposes only, under Case No. 20-11157.

        3.      The caption of the jointly administered cases shall read as follows:

                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MASSACHUSETTS

                                                  )
        In re                                     )       Chapter 7
                                                  )       Case No. 20-11157
        Legacy Global Sports, L.P., et al.,       )
                                                  )       Jointly Administered
                Debtors. 1                        )
                                                  )
                                                  )


        4.      All further pleadings and other papers shall be filed in, and all further docket

entries shall be made in Legacy Global Sports, L.P., Case No. 20-11157 and that case alone,

except for (i) the schedules, statement of financial affairs, list of equity security holders, and

matrix for each case and any amendments to the foregoing which shall be filed in the respective

debtor’s case, and (ii) proofs of claims which shall be filed by creditors in the particular debtor’s

case that is indebted to such creditor. Any motion or other request for relief filed in one of the



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 The Debtors in Case Nos. 20-11157 and 20-11351 through 20-11376 are as follows: Legacy Global Sports, L.P.,
LGS Management, LLC, LGS Manufacturing, LLC, Legacy Global Lacrosse, LLC, LGS Logistics, LLC, LGS
Team Sales, LLC, Premier Sports Events, LLC, Massachusetts Premier Soccer, LLC d/b/a Global Premier Soccer,
Maine Premier Soccer, LLC, Mass Premier Soccer in New Hampshire, LLC, Florida Premier Soccer, LLC, New
York Premier Soccer, LLC, Jersey Premier Soccer, LLC, GPS in Vermont, LLC, Rhode Island Premier Soccer,
LLC, Carolina Premier Soccer, LLC, Georgia Premier Soccer, LLC, Global Premier Soccer Puerto Rico, LLC,
Global Premier Soccer Canada, LLC, Global Premier Soccer Oregon, LLC, Global Premier Soccer California, LLC,
Global Premier Soccer Missouri, LLC, Global Premier Soccer Connecticut, LLC, Global Premier Soccer Delaware,
LLC, Global Premier Soccer Michigan, LLC, Global Premier Soccer Minnesota, LLC, and Global Premier Soccer
Ohio, LLC.

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  Case 20-11365        Doc 24    Filed 07/14/20 Entered 07/14/20 18:00:06             Desc Main
                                   Document     Page 3 of 3



jointly administered cases shall specify the debtor or debtors concerning whom relief is sought.

       5.      The Trustee shall serve this Order on the Debtors, all secured creditors, taxing

authorities, parties having filed a notice of appearance in any of the cases, and the United States

Trustee, and file a certificate of such service by July 21, 2020.

       6.      Nothing contained this Order shall be deemed or construed as directing or

otherwise effecting a substantive consolidation of the Debtors’ chapter 7 estates.




Dated: July 14, 2020
                                                              Janet E. Bostwick
                                                              United States Bankruptcy Judge




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